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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

TIMOTHY TYLER,                               §
and                                          §
JOSEPH RAMEY                                 §
Plaintiffs,                                  §
                                             § CIVIL ACTION NO. 4:15-cv-03668
       v.                                    §
                                             §
NETWORK CONNECTIONS, INC.,                   §
ET AL                                        §
Defendants.                                  §


   JOINT MOTION AND STIPULATION FOR APPROVAL OF SETTLEMENT AND
                     DISMISSAL WITH PREJUDICE


       COME NOW, Plaintiff, Timothy Tyler, and Defendants, Network Connections, Inc. and

Brian S. Watterson, who jointly move this Court to approve the settlement of the above-captioned

matter to which the names parties have agreed and enter an order pursuant to Rule 41(a)1(ii) of the

Federal Rules of Civil Procedure partially dismissing this litigation with prejudice, each party to

bear his/its own costs and attorney’s fees. In support of this motion, the named parties show the

following and submit a copy of the Settlement Agreement and Release (filed simultaneously under

seal), which has been approved by the parties and executed by Timothy Tyler.

                                       INTRODUCTION

       Plaintiffs, Joseph Ramey and Timothy Tyler brought suit against Defendants, Network

Connections, Inc. and Brian S. Watterson on December 18, 2015 alleging violations of the Fair

Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., in connection with their former

employment with Defendants. Specifically, Plaintiffs claim they were improperly classified as


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independent contractors and as a result of this improper classification, were denied overtime pay in

accordance with the FLSA. Defendants have filed their answer denying any liability and asserting

various affirmative defenses.

       Whereas Joseph Ramey previously settled his case and the Order on his Joint Motion to

Dismiss was signed by this Court on July 27, 2016, and entered of record in this case under Dkt. 20,

on July 28, 2016, Timothy Tyler is the sole remaining plaintiff.

       Tyler and Defendants have discussed a potential settlement of his claims against Defendants.

The negotiated Settlement Agreement and Release (the “Agreement”), which has been approved by

the parties and has been executed by Tyler, covers only Tyler’s FLSA claims against Defendants.

Tyler and Defendants have come to an agreement with respect to Tyler’s claims only. Tyler and

Defendants contend the settlement is fair and reasonable. However, according to its terms and

applicable law, the Settlement Agreement will not become effective unless and until it is approved

by this Court.



                                           ARGUMENT

       In general, the minimum wage and overtime provisions of the FLSA are mandatory and not

subject to negotiation or bargaining between employers and employees. See Brooklyn Savings Bank

v. O’Neil, 324 U.S. 697 (1945). However, there are two ways employees may settle and waive a

claim against their employer for unpaid overtime wages under the FLSA: (1) if the payment of

unpaid wages is supervised by the Secretary of Labor; or (2) in the context of a private lawsuit

brought by an employee against his employer, if the parties present the district court with a proposed

settlement and the Court enters an order approving the fairness of the settlement. 29 U.S.C. § 216©;



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Schulte, Inc. v. Gangi, 328 U.S. 108 (1946); Jarrard v. Southeastern Shipbuilding Corp, 163 F.2d

960 (5th Cir. 1947); Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982).

       An employee may settle and release FLSA claims against his employer without the

supervision of the Secretary of Labor if all of the following conditions are met: (1) the settlement

occurs in an adversarial context; (2) there are issues of FLSA coverage and/or computations actually

in dispute; and (3) the district court enters an order approving the settlement after scrutinizing the

fairness of the settlement. Lynn’s Food Stores, 679 F.2d at 1354.

       In Thomas v. State of Louisiana, 534 F.2d 613 (5th Cir. 1976), the Fifth Circuit reinstated

a settlement agreement that had been set aside by the district court. The court explained that

although no court had approved the settlement agreement, the same reason for enforcing a court-

approved agreement applied, i.e., little danger of employees being disadvantaged by unequal

bargaining power. The Court held that, “[s]ettlement agreements have always been a favored means

of resolving disputes. When fairly arrived at and properly entered into, they are generally viewed

as binding, final, and as conclusive of rights as a judgment. We see no reason here to depart the

general rule.” Thomas, 534 F.2d at 614-15.

       Thus, it is well-settled that employees may waive FLSA claims for unpaid wages pursuant

to a judicially-supervised stipulated settlement.

                                            ANALYSIS

       This case clearly involves a situation in which the Court may allow Tyler to settle and release

his FLSA claim for unpaid wages against Defendants. First, the proposed settlement arises in an

adversarial context, with pending litigation. Second, Plaintiff’s FLSA claim against Defendant

involves a dispute about FLSA coverage and computation, and consequently, the proposed



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settlement represents a reasonable compromise of disputed issues. Finally, the parties agree that the

amount of the settlement and the various covenants contained in the Agreement, are fair in light of

the parties’ contentions. Additionally, the parties voluntarily agreed to the Agreement’s terms after

exhaustive negotiations and receiving advice from their counsel. Therefore, the named parties urge

the Court to approve the Agreement as a fair settlement of the disputed issues arising from Tyler’s

FLSA claims against Defendants.

                                          CONCLUSION

       For the foregoing reasons, the parties request that the Court approve the proposed settlement

and enter an order partially dismissing this litigation with prejudice. The settlement represents a fair

and reasonable compromise of disputed issues. The settlement fairly compensates Tyler for his

FLSA claims. Accordingly, the parties respectfully request that this Court enter the proposed order

submitted by the parties approving the parties’ proposed settlement and partially dismissing this

litigation with prejudice.


Respectfully Submitted,

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                            NOTICE OF ELECTRONIC FILING

        I, Jo Miller, do hereby certify that I have electronically submitted for filing, a true and
correct copy of the above and foregoing document in accordance with the Electronic Case Files
System of the Southern District of Texas, on this the 26th day of October, 2016.


                                                 /s/ Jo Miller
                                                 JO MILLER




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